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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

WESTERN DIVISION
William Wanke, et al.,
Plaintiff(s),
v. Case No. 1:17cv242

( J. Dlott ; Litkovitz, M.J )

Rushmore Loan Management Services, LLC, et al.,

Defendant(s).
ClVlL MlNUTES
SETTLEMENT CONFERENCE (held in chambers)
before the

HONORABLE KAREN L. LlTKOV|TZ, U.S. MAGISTRATE JUDGE

COURTROOM DEPUTY: Arthur Hi||
LAw cLERK: nom pm¢rrf’
DATE: March 14, 2018 TIME: 9:00 am

 

Attorney for Plaintiff(s): Attorney for Defendant(s):

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PROCEDURES

;J<_Counse| Present With/Without client(s)

__)(_Settlement conference held

_Sett|ement conference continued to
Court order/memorandum to follow by

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRIC'I` OF OHIO
WESTERN DIVISION

 

William Wankc, et al.,
Plaintiff(S),

V. Case No. l:l?cv242
(Litkovitz, M.J)

Rushmore Loan Management Services, LLC, et al.,

 

 

 

 

Defendant($),
SIGN IN SHEET (Settlement Conference)
Plaintiff(s) Counsel/Parties Defendant($) Counsel/Pa£t[}\cksi€(_
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